       Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 1 of 13

                 UNITED STATES COURT OF APPEALS
                                                                  FILED
                         FOR THE NINTH CIRCUIT
                                                                  JAN 05 2024
                                                                 MOLLY C. DWYER, CLERK
                                                                  U.S. COURT OF APPEALS




DEFENDERS OF WILDLIFE; et al.,               No. 21-16382

             Plaintiffs - Appellees,
                                             D.C. No. 4:21-cv-00344-JSW
 v.                                          U.S. District Court for Northern
                                             California, Oakland
 UNITED STATES FISH AND
WILDLIFE SERVICE; DEBRA ANNE                 ORDER
HAALAND, U.S. Secretary of the
Interior,

             Defendants - Appellees,

 and


NATIONAL RIFLE ASSOCIATION
OF AMERICA; et al.,

            Intervenor-Defendants –
            Appellees,

 v.

AMERICAN FARM BUREAU
FEDERATION; et al.,

             Movants - Appellants,
and

AMERICAN FOREST RESOURCE
COUNCIL; et al.,

             Movants.
      Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 2 of 13




WILDEARTH GUARDIANS; et al.,                No. 21-16383

            Plaintiffs - Appellees,
                                            D.C. No. 4:21-cv-00349-JSW
 v.                                         U.S. District Court for Northern
                                            California, Oakland
 U.S. DEPARTMENT OF THE
INTERIOR; et al.,

            Defendants - Appellees,

and


NATIONAL RIFLE ASSOCIATION
OF AMERICA; et al.,

            Intervenor-Defendants –
            Appellees,

 v.

AMERICAN FARM BUREAU
FEDERATION; et al.,

            Movants - Appellants,

and

AMERICAN FOREST RESOURCE
COUNCIL; et al.,

            Movants.
       Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 3 of 13


NATURAL RESOURCES DEFENSE                    No. 21-16384
COUNCIL, INC.,
                                             D.C. No. 4:21-cv-00561-JSW
             Plaintiff - Appellee,
                                             U.S. District Court for Northern
 v.                                          California, Oakland

 U.S. DEPARTMENT OF THE
INTERIOR; et al.,

             Defendants - Appellees,

 and


NATIONAL RIFLE ASSOCIATION
OF AMERICA; et al.,

             Intervenor-Defendants –
             Appellees,

 v.

AMERICAN FARM BUREAU
FEDERATION; et al.,

             Movants - Appellants,

and

AMERICAN FOREST RESOURCE
COUNCIL; et al.,

             Movants.
       Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 4 of 13


DEFENDERS OF WILDLIFE; et al.,                      No. 22-15529

               Plaintiffs - Appellees,
                                                    D.C. No. 4:21-cv-00344-JSW
  v.                                                U.S. District Court for Northern
                                                    California, Oakland
 UNITED STATES FISH AND
WILDLIFE SERVICE and DEB
HAALAND, U.S. Secretary of the
Interior,

               Defendants,

STATE OF UTAH,

               Intervenor-Defendant,

and

NATIONAL RIFLE ASSOCIATION
OF AMERICA, INC. and SAFARI
CLUB INTERNATIONAL,

               Intervenor-Defendants –
               Appellants,

  v.

AMERICAN FARM BUREAU
FEDERATION; et al.,

               Movants,

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AMERICAN FARM BUREAU
FEDERATION; et al.,

               Intervenors - Pending.
       Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 5 of 13


DEFENDERS OF WILDLIFE; et al.,                      No. 22-15532

               Plaintiffs - Appellees,
                                                    D.C. No. 4:21-cv-00344-JSW
  v.                                                U.S. District Court for Northern
                                                    California, Oakland
 UNITED STATES FISH AND
WILDLIFE SERVICE and DEB
HAALAND, U.S. Secretary of the
Interior,

               Defendants,

NATIONAL RIFLE ASSOCIATION
OF AMERICA, INC. and SAFARI
CLUB INTERNATIONAL,

               Intervenor-Defendants,

and

STATE OF UTAH,

               Intervenor-Defendant –
               Appellant,

  v.

AMERICAN FARM BUREAU
FEDERATION; et al.,

               Movants,

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AMERICAN FARM BUREAU
FEDERATION; et al.,

               Intervenors - Pending.
       Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 6 of 13


WILDEARTH GUARDIANS; et al.,                        No. 22-15534

               Plaintiffs - Appellees,
                                                    D.C. No. 4:21-cv-00349-JSW
  v.                                                U.S. District Court for Northern
                                                    California, Oakland
 U.S. DEPARTMENT OF THE
INTERIOR; et al.,

               Defendants,

STATE OF UTAH,

               Intervenor-Defendant,

and

NATIONAL RIFLE ASSOCIATION
OF AMERICA, INC. and SAFARI
CLUB INTERNATIONAL,

               Intervenor-Defendants –
               Appellants,

  v.

AMERICAN FARM BUREAU
FEDERATION; et al.,

               Movants,

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AMERICAN FARM BUREAU
FEDERATION; et al.,

               Intervenors - Pending.
       Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 7 of 13


WILDEARTH GUARDIANS; et al.,                       No. 22-15535

               Plaintiffs - Appellees,
                                                   D.C. No. 4:21-cv-00349-JSW
  v.                                               U.S. District Court for Northern
                                                   California, Oakland
 U.S. DEPARTMENT OF THE
INTERIOR; et al.,

               Defendants,

NATIONAL RIFLE ASSOCIATION
OF AMERICA, INC. and SAFARI
CLUB INTERNATIONAL,

               Intervenor-Defendants,

and

STATE OF UTAH,

               Intervenor-Defendant –
               Appellant,

  v.

AMERICAN FARM BUREAU
FEDERATION; et al.,

               Movants,

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AMERICAN FARM BUREAU
FEDERATION; et al.,

               Intervenors - Pending.
       Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 8 of 13


NATURAL RESOURCES DEFENSE                           No. 22-15536
COUNCIL, INC.,
                                                    D.C. No. 4:21-cv-00561-JSW
               Plaintiff - Appellee,
                                                    U.S. District Court for Northern
  v.                                                California, Oakland

 U.S. DEPARTMENT OF THE
INTERIOR; et al.,

               Defendants,

STATE OF UTAH,

               Intervenor-Defendant,

and

NATIONAL RIFLE ASSOCIATION
OF AMERICA, INC. and SAFARI
CLUB INTERNATIONAL,

               Intervenor-Defendants –
               Appellants,

  v.

AMERICAN FARM BUREAU
FEDERATION; et al.,

               Movants,

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AMERICAN FARM BUREAU
FEDERATION; et al.,

               Intervenors - Pending.
       Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 9 of 13


NATURAL RESOURCES DEFENSE                           No. 22-15537
COUNCIL, INC.,
                                                    D.C. No. 4:21-cv-00561-JSW
               Plaintiff - Appellee,
                                                    U.S. District Court for Northern
  v.                                                California, Oakland

 U.S. DEPARTMENT OF THE
INTERIOR; et al.,

               Defendants,

NATIONAL RIFLE ASSOCIATION
OF AMERICA, INC. and SAFARI
CLUB INTERNATIONAL,

               Intervenor-Defendants,

and

STATE OF UTAH,

               Intervenor-Defendant –
               Appellant,

  v.

AMERICAN FARM BUREAU
FEDERATION; et al.,

               Movants,

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AMERICAN FARM BUREAU
FEDERATION; et al.,

               Intervenors - Pending.
       Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 10 of 13


WILDEARTH GUARDIANS; et al.,                        No. 22-15626

               Plaintiffs - Appellees,
                                                    D.C. No. 4:21-cv-00349-JSW
  v.                                                U.S. District Court for Northern
                                                    California, Oakland
 U.S. DEPARTMENT OF THE
INTERIOR; et al.,

               Defendants - Appellants,

and

RED CLIFF BAND OF LAKE
SUPERIOR CHIPPEWA INDIANS,

               Defendant,

NATIONAL RIFLE ASSOCIATION
OF AMERICA, INC.; et al.,

               Intervenor-Defendants,

  v.

AMERICAN FARM BUREAU
FEDERATION; et al.,

               Movants,

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AMERICAN FARM BUREAU
FEDERATION; et al.,

               Intervenors - Pending.
       Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 11 of 13


NATURAL RESOURCES DEFENSE                           No. 22-15627
COUNCIL, INC.,
                                                    D.C. No. 4:21-cv-00561-JSW
               Plaintiff - Appellee,
                                                    U.S. District Court for Northern
  v.                                                California, Oakland

 U.S. DEPARTMENT OF THE
INTERIOR; et al.,

               Defendants - Appellants,

and

RED CLIFF BAND OF LAKE
SUPERIOR CHIPPEWA INDIANS,

               Defendant,

NATIONAL RIFLE ASSOCIATION
OF AMERICA, INC.; et al.,

               Intervenor-Defendants,

  v.

AMERICAN FARM BUREAU
FEDERATION; et al.,

               Movants,

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AMERICAN FARM BUREAU
FEDERATION; et al.,

               Intervenors - Pending.
        Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 12 of 13


 DEFENDERS OF WILDLIFE; et al.,                      No. 22-15628

                Plaintiffs - Appellees,
                                                     D.C. No. 4:21-cv-00344-JSW
   v.                                                U.S. District Court for Northern
                                                     California, Oakland
  UNITED STATES FISH AND
 WILDLIFE SERVICE and DEB
 HAALAND, U.S. Secretary of the
 Interior,

                Defendants - Appellants,

  and

 NATIONAL RIFLE ASSOCIATION
 OF AMERICA, INC.; et al.,

                Intervenor-Defendants,

   v.

 AMERICAN FARM BUREAU
 FEDERATION; et al.,

                Movants,

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 AMERICAN FARM BUREAU
 FEDERATION; et al.,

                Intervenors - Pending.



        The dial-in telephone conference scheduled for January 16, 2024, is

canceled.

        On or before January 18, 2024, counsel for each party shall provide a

separate, confidential email report to the Circuit Mediator
       Case: 22-15529, 01/05/2024, ID: 12844559, DktEntry: 17, Page 13 of 13

(Robert_Kaiser@ca9.uscourts.gov). Counsel are requested to include the Ninth

Circuit case name and number in the subject line. The status report should not be

filed with the court.

                                                FOR THE COURT:


                                                Robert S. Kaiser
bls/mediation                                   Circuit Mediator
